
722 S.E.2d 596 (2012)
STATE of North Carolina
v.
Jason Ryan SMITH.
No. 537P11.
Supreme Court of North Carolina.
March 8, 2012.
Barbara S. Blackman, Assistant Appellate Defender, for Smith, Jason Ryan.
David Elliott, Assistant Attorney General, for State of North Carolina.
*597 L. Johnson Britt, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 12th of December 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
